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                  7    Attorneys for Defendants ANAHEIM UNION
                       HIGH SCHOOL DISTRICT, BRAD JACKSON,
                  8    and DR. SUSAN FERENCZ
                  9                                                 UNITED STATES DISTRICT COURT
                  10                              FOR THE CENTRAL DISTRICT OF CALIFORNIA
                  11                                                    (SOUTHERN DIVISION)
                  12   VERONICA ORTEGA-GAMEZ,                                         Case No.: 8:16-cv-01562-AG-AS
                                                                                      Judge:      Hon. Andrew J. Guilford
                  13                           Plaintiff,                             Dept.:      10D
                                                                                      Magistrate: Hon. Alka Sagar
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                  14               v.                                                 Dept.:      Room 540
                  15   ANAHEIM UNION HIGH SCHOOL                                      DEFENDANT ANAHEIM UNION
                       DISTRICT, a public entity; BRAD                                HIGH SCHOOL DISTRICT, BRAD
                  16   JACKSON, individually and in his                               JACKSON, AND DR. SUSAN
                       official capacity; DR. SUSAN                                   FERENCZ'S ANSWER TO SECOND
                  17   FERENCZ, individually and in her                               AMENDED COMPLAINT
                       official capacity; Does 1-10,
                  18                                                                  DEMAND FOR JURY TRIAL
                                               Defendants.
                  19                                                                  Action Date:August 24, 2016
                  20
                  21               Defendants Anaheim Union High School District (“District”), and Brad Jackson
                  22   and Dr. Susan Ferencz, individually and in their official capacities, hereby respond to
                  23   Plaintiff Veronica Ortega-Gamez’s Second Amended Complaint as follows:
                  24                                                             I.
                  25                                    RESPONSE TO JURISDICTION AND VENUE
                  26               1.          Paragraphs 1 and 2 are legal conclusions. Defendants agree that the Court
                  27   has jurisdiction over the federal claims, and pendant jurisdiction over the state claims.
                  28   ///
                                                                                        1
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                  1                                                         II.
                  2                                    RESPONSE TO ALLEGATIONS RE: PARTIES
                  3                2.          Defendants, and each of them, admit the material allegations in paragraphs
                  4    3 and 4.
                  5                3.          As to paragraph 5, Defendants, and each of them, admit that Mr. Jackson
                  6    was the Director of Special Youth Services and is currently Assistant Superintendent,
                  7    Human Resources Certificated, and admit that Mr. Jackson has served as Plaintiff’s
                  8    supervisor and evaluated Plaintiff. Defendants, and each of them, deny the remaining
                  9    material allegations within that paragraph.
                  10               4.          As to paragraph 6, Defendants, and each of them, admit that Dr. Ferencz
                  11   served as Coordinator, Special Youth Services, and deny the remaining material
                  12   allegations within that paragraph.
                  13               5.          Defendants, and each of them, deny all material allegations in paragraphs
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                  14   7 through 9.
                  15                                                       III.
                  16                                      RESPONSE TO FACTUAL ALLEGATIONS
                  17               6.          Defendants, and each of them, admit the material allegations in paragraphs
                  18   10 and 11.
                  19               7.          Defendants, and each of them, deny all material allegations in paragraphs
                  20   12-49.
                  21                                                       IV.
                  22                                      RESPONSE TO FIRST CAUSE OF ACTION
                  23               8.          As to paragraph 50, Defendants respond and incorporate by reference their
                  24   responses to paragraphs 1 through 49.
                  25               9.          Defendants deny all material allegations in paragraphs 51 through 54.
                  26                                                        V.
                  27                                   RESPONSE TO SECOND CAUSE OF ACTION
                  28               10.         As to paragraph 55, Defendants respond and incorporate by reference their
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                  1    responses to paragraphs 1 through 54.
                  2                11.         Defendants deny all material allegations in paragraphs 56 through 59.
                  3                                                        VI.
                  4                                      RESPONSE TO THIRD CAUSE OF ACTION
                  5                12.         As to paragraph 60, Defendants respond and incorporate by reference their
                  6    responses to paragraphs 1 through 59.
                  7                13.         Defendants deny all material allegations in paragraphs 60 through 64.
                  8                                                        VII.
                  9                                    RESPONSE TO FOURTH CAUSE OF ACTION
                  10               14.         As to paragraph 65, Defendants respond and incorporate by reference their
                  11   responses to paragraphs 1 through 64.
                  12               15.         Defendants deny all material allegations in paragraphs 66 through 69.
                  13                                                      VIII.
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                  14                                      RESPONSE TO FIFTH CAUSE OF ACTION
                  15               16.         As to paragraph 70, Defendants respond and incorporate by reference their
                  16   responses to paragraphs 1 through 69.
                  17               17.         Defendants deny all material allegations in paragraphs 71 through 74.
                  18                                                       IX.
                  19                                      RESPONSE TO SIXTH CAUSE OF ACTION
                  20               18.         As to paragraph 75, Defendants respond and incorporate by reference their
                  21   responses to paragraphs 1 through 74.
                  22               19.         Defendants deny all material allegations in paragraphs 76 through 79.
                  23                                                        X.
                  24                                  RESPONSE TO SEVENTH CAUSE OF ACTION
                  25               20.         As to paragraph 80, Defendants respond and incorporate by reference their
                  26   responses to paragraphs 1 through 79.
                  27               21.         Defendants deny all material allegations in paragraphs 81 through 83.
                  28
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                  1                                                            XI.
                  2                                    RESPONSE TO EIGHTH CAUSE OF ACTION
                  3                22.         As to paragraph 84, Defendants respond and incorporate by reference their
                  4    responses to paragraphs 1 through 83.
                  5                23.         Defendants deny all material allegations in paragraphs 85 and 86.
                  6                                                            XII.
                  7                                      RESPONSE TO NINTH CAUSE OF ACTION
                  8                24.         As to paragraph 87, Defendants respond and incorporate by reference their
                  9    responses to paragraphs 1 through 86.
                  10               25.         Defendants deny all material allegations in paragraphs 88 and 89.
                  11                                                          XIII.
                  12                                     RESPONSE TO TENTH CAUSE OF ACTION
                  13               26.         As to paragraph 90, Defendants respond and incorporate by reference their
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                  14   responses to paragraphs 1 through 89.
                  15               27.         Defendants deny all material allegations in paragraphs 91 through 95.
                  16
                  17                                                  AFFIRMATIVE DEFENSES
                  18               Defendants hereby assert the following affirmative defenses:
                  19                                                          XIV.
                  20                                                FIRST AFFIRMATIVE DEFENSE
                  21                         (Failure to State a Claim for which Relief May Be Granted)
                  22               28.         As a separate affirmative defense to the Second Amended Complaint, and
                  23   each cause of action therein, Defendants allege that Plaintiff’s Second Amended
                  24   Complaint fails to allege facts or other allegations sufficient to constitute a cause of
                  25   action against Defendants.
                  26   ///
                  27   ///
                  28   ///
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                  1                                                               XV.
                  2                                                 SECOND AFFIRMATIVE DEFENSE
                  3                                                       (No Proximate Cause)
                  4                29.         As a separate affirmative defense to the Second Amended Complaint,
                  5    Defendants are informed and believe, and thereon allege, that their acts and omissions,
                  6    if any, were not the proximate cause of the losses, damages, or other injuries alleged in
                  7    Plaintiff’s Second Amended Complaint.
                  8                                                              XVI.
                  9                                                 THIRD AFFIRMATIVE DEFENSE
                  10                                          (Legitimate, Non-Discriminatory Reasons)
                  11               30.         As a separate affirmative defense to the Second Amended Complaint,
                  12   Defendants allege that their improper conduct, if any, was motivated by legitimate, non-
                  13   discriminatory reasons.
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                  14                                                             XVII.
                  15                                                FOURTH AFFIRMATIVE DEFENSE
                  16              (Reasonable Exercise of Mandatory Duty – Government Code § 815.6)
                  17               31.         As a separate affirmative defense to the Second Amended Complaint,
                  18   Defendants are informed and believe, and thereon allege, that to the extent Plaintiff’s
                  19   Second Amended Complaint is based upon Defendants’ failure to discharge a
                  20   mandatory duty, Defendants are immune from liability by virtue of their exercise of
                  21   reasonable diligence in discharging that duty under Government Code section 815.6.
                  22                                                            XVIII.
                  23                                                FIFTH AFFIRMATIVE DEFENSE
                  24                              (Exercise of Discretion Within Scope of Employment –
                  25                                                    Government Code § 820.2)
                  26               32.         As a separate affirmative defense to the Second Amended Complaint,
                  27   Defendants are informed and believe, and thereon allege, that the acts or omissions
                  28   complained of by Plaintiff were the result of the exercise of discretion vested in public
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                  1    employees while acting within the scope of their public employment, and whether or
                  2    not such discretion was abused, Defendants are immune from liability herein under the
                  3    provisions of Government Code section 820.2.
                  4                                                               XIX.
                  5                                                 SIXTH AFFIRMATIVE DEFENSE
                  6                                                   (Failure to Mitigate Damages)
                  7                33.         As a separate affirmative defense to the Second Amended Complaint,
                  8    Defendants are informed and believe, and thereon allege, that Plaintiff’s claims for
                  9    damages are barred or reduced because she has failed to reasonably mitigate her
                  10   damages.
                  11                                                              XX.
                  12                                            SEVENTH AFFIRMATIVE DEFENSE
                  13                                                      (Qualified Immunity)
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                  14               34.         As a separate affirmative defense to the Second Amended Complaint,
                  15   Defendants allege that they are immune from liability to the extent their conduct did not
                  16   violate clearly established statutory or constitutional rights of which a reasonable person
                  17   would have known.
                  18                                                              XXI.
                  19                                                EIGHTH AFFIRMATIVE DEFENSE
                  20                                                   (Immunity from Damages)
                  21               35.         Defendants allege that they have substantially complied in good faith with
                  22   all State and Federal statutes and regulations, and are immune from damages for any
                  23   harm which may have resulted from such good faith compliance with state and federal
                  24   law.
                  25                                                NINTH AFFIRMATIVE DEFENSE
                  26                                                     (Exercise of Discretion)
                  27               36.         As a separate affirmative defense to the Second Amended Complaint,
                  28   Defendants allege that the acts or omissions contained of in the Second Amended
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                  1    Complaint were the result of the exercise of discretion vested in employees.
                  2                                                              XXII.
                  3                                                 TENTH AFFIRMATIVE DEFENSE
                  4                                       (Failure to Exhaust Administrative Remedies)
                  5                37.         As a separate affirmative defense to the Second Amended Complaint,
                  6    Defendants are informed and believe, and thereon allege, that Plaintiff has failed to file
                  7    a valid or timely administrative complaint with the Department of Fair Employment
                  8    and Housing.
                  9                                                             XXIII.
                  10                                           ELEVENTH AFFIRMATIVE DEFENSE
                  11                                           (Complaint Exceeds the Scope of Claims)
                  12               38.         As a separate affirmative defense to the Second Amended Complaint,
                  13   Defendants allege that the allegations and theories set forth in the Second Amended
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                  14   Complaint exceed the scope of any administrative charges filed by Plaintiff with the
                  15   Department of Fair Employment and Housing.
                  16                                                            XXIV.
                  17                                            TWELFTH AFFIRMATIVE DEFENSE
                  18                                                           (Laches)
                  19               39.         As a separate affirmative defense to the Second Amended Complaint,
                  20   Defendants allege that Plaintiff’s recovery is barred by the equitable doctrine of laches.
                  21                                                             XXV.
                  22                                        THIRTEENTH AFFIRMATIVE DEFENSE
                  23                                                    (Statute of Limitations)
                  24               40.         As a separate affirmative defense to the Second Amended Complaint,
                  25   Defendants allege that Plaintiff’s claims, in whole or in part, are untimely under the
                  26   applicable statute of limitations.
                  27   ///
                  28
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                  1                                                         XXVI.
                  2                                        FOURTEENTH AFFIRMATIVE DEFENSE
                  3                                                    (Unclean Hands)
                  4                41.         As a separate affirmative defense to the Second Amended Complaint,
                  5    Defendants allege that Plaintiff’s recovery, if any, is barred by the doctrine of unclean
                  6    hands.
                  7                                                         XXVII.
                  8                                           FIFTEENTH AFFIRMATIVE DEFENSE
                  9                                                   (Equitable Estoppel)
                  10               42.         As a separate affirmative defense to the Second Amended Complaint,
                  11   Defendants are informed and believe, and thereon allege, that Plaintiff’s claims are
                  12   barred by the equitable doctrine of estoppel.
                  13                                                       XXVIII.
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                  14                                          SIXTEENTH AFFIRMATIVE DEFENSE
                  15                                                       (Waiver)
                  16               43.         As a separate affirmative defense to the Second Amended Complaint,
                  17   Defendants are informed and believe, and thereon allege, that Plaintiff’s claims are
                  18   barred by waiver.
                  19                                                        XXIX.
                  20                                      SEVENTEENTH AFFIRMATIVE DEFENSE
                  21                                                (Government Code § 818)
                  22               44.         As a separate affirmative defense to the Second Amended Complaint,
                  23   Defendants assert the immunity provided by Government Code section 818, which
                  24   precludes any claims against a public entity for punitive damages.
                  25   ///
                  26   ///
                  27   ///
                  28   ///
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                  1                                                              XXX.
                  2                                         EIGHTEENTH AFFIRMATIVE DEFENSE
                  3                                                    (Government Code § 820.4)
                  4                45.         As a separate affirmative defense to the Second Amended Complaint,
                  5    Defendants allege that they are in immune under the provisions of Government Code
                  6    section 820.4.
                  7                                                             XXXI.
                  8                                         NINETEENTH AFFIRMATIVE DEFENSE
                  9                                                 (General Governmental Immunity)
                  10               46.         As a separate affirmative defense to the Second Amended Complaint,
                  11   Defendants are informed and believe, and thereon allege, that Plaintiff’s Second
                  12   Amended Complaint is barred by the provisions of Government Code sections 815,
                  13   815.2(b), 820(b), and 820.8.
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                  14                                                            XXXII.
                  15                                         TWENTIETH AFFIRMATIVE DEFENSE
                  16                                                   (Government Code § 818.2)
                  17               47.         As a separate affirmative defense to the Second Amended Complaint,
                  18   Defendants allege that they are immune under the provisions of Government Code
                  19   section 818.2.
                  20                                                           XXXIII.
                  21                                     TWENTY-FIRST AFFIRMATIVE DEFENSE
                  22                                                (Employment Would Have Ceased)
                  23               48.         As a separate affirmative defense to the Second Amended Complaint,
                  24   Defendants are informed and believe, and thereon allege, that Plaintiff’s claim for
                  25   violation of the California Family Rights Act is barred because her employment as a
                  26   school psychologist would have ended for other reasons.
                  27   ///
                  28   ///
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                  1                                                           XXXIV.
                  2                                   TWENTY-SECOND AFFIRMATIVE DEFENSE
                  3                                                  (Adequate Remedy at Law)
                  4                49.         As a separate affirmative defense to the Second Amended Complaint,
                  5    Defendants are informed and believe, and thereon allege, that the equitable remedies
                  6    sought by Plaintiff are not available because she has an adequate remedy at law.
                  7                                                           XXXV.
                  8                                      TWENTY-THIRD AFFIRMATIVE DEFENSE
                  9                                                 (Fitness for Duty Statement)
                  10               50.         As a separate affirmative defense to the Second Amended Complaint,
                  11   Defendants are informed and believe, and thereon allege, that Plaintiff’s claim for
                  12   violation of the California Family Rights Act is barred because she did not provide a
                  13   statement from her healthcare provider stating she was fit to return to work.
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                  14                                                          XXXVI.
                  15                                  TWENTY-FOURTH AFFIRMATIVE DEFENSE
                  16                                       (Good Faith Efforts to Comply with the Law)
                  17               51.         As a separate affirmative defense to the Second Amended Complaint,
                  18   Defendants assert that they engaged in good faith efforts to comply with the law.
                  19                                                          XXXVII.
                  20                                     TWENTY-FIFTH AFFIRMATIVE DEFENSE
                  21                                                (Legitimate Business Reasons)
                  22               52.         As a separate affirmative defense to the Second Amended Complaint,
                  23   Defendants are informed and believe, and thereon allege, that their actions with respect
                  24   to Plaintiff were taken solely for legitimate, business reasons unrelated to any alleged
                  25   protected expression or activity by Plaintiff, or any alleged discrimination, harassment,
                  26   or retaliation.
                  27   ///
                  28   ///
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                  1                                                       XXXVIII.
                  2                                      TWENTY-SIXTH AFFIRMATIVE DEFENSE
                  3                                  (Punitive Damages Against Individual Defendants)
                  4                53.         As a separate affirmative defense to the Second Amended Complaint, the
                  5    imposition of punitive damages against the individual defendants would violate their
                  6    constitutional rights under the Due Process Clauses of the Fifth and Fourteenth
                  7    Amendments to the United States Constitution, the Excessive Fines and Cruel and
                  8    Unusual Punishment clauses of the Eighth Amendment to the United States
                  9    Constitution, as well as similar provisions of the California and United States
                  10   Constitution.
                  11                                                      XXXIX.
                  12                                 TWENTY-SEVENTH AFFIRMATIVE DEFENSE
                  13                                   (Reservation of Additional Affirmative Defenses)
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                  14               54.         Defendants do not have sufficient information to enable them to form a
                  15   belief as to whether they have additional, as yet unstated, affirmative defenses.
                  16   Therefore, Defendants reserve the right to assert such unknown defenses in the event
                  17   that discovery reveals such defenses are appropriate.
                  18               55.
                  19                                                REQUEST FOR RELIEF
                  20               WHEREFORE, Defendants Anaheim Union High School District, Brad Jackson,
                  21   and Dr. Susan Ferencz pray as follows:
                  22                     1. That Plaintiff shall take nothing by way of her Second Amended
                  23                           Complaint and judgment be entered in favor of the Defendants and each of
                  24                           them;
                  25                     2. For costs of suit incurred herein; and
                  26                     3. For all such other and further relief as the Court deems just and proper.
                  27   ///
                  28   ///
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                  1                                                 DEMAND FOR JURY TRIAL
                  2                Defendants hereby demand a jury trial.
                  3
                  4    Dated: December 27, 2016                               ARTIANO SHINOFF
                  5
                  6                                                           By: /s/ Paul V. Carelli, IV
                                                                                  Daniel R. Shinoff
                  7                                                                dshinoff@as7law.com
                                                                                  Paul V. Carelli IV.
                  8                                                                pcarelli@as7law.com
                                                                                  Catherine S. Wicker
                  9                                                                cwicker@as7law.com
                                                                              Attorneys for Defendants ANAHEIM
                  10                                                          UNION HIGH SCHOOL DISTRICT,
                                                                              BRAD JACKSON, and DR. SUSAN
                  11                                                          FERENCZ
                  12
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ARTIANO SHINOFF




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                  1                                                  PROOF OF SERVICE
                  2                                                 (State and Federal Court)
                  3           I am and was at all times herein mentioned over the age of 18 years and not a
                       party to the action in which this service is made. At all times herein mentioned I have
                  4    been employed in the County of San Diego in the office of a member of the bar of this
                       court at whose direction the service was made. My business address is 2488 Historic
                  5    Decatur Road, Suite 200, San Diego, California 92106.
                  6                On December 27, 2016, I served the following document(s):
                  7    DEFENDANT ANAHEIM UNION HIGH SCHOOL DISTRICT, BRAD
                       JACKSON, AND DR. SUSAN FERENCZ'S ANSWER TO SECOND
                  8    AMENDED COMPLAINT
                  9
                        BY ELECTRONIC SERVICE On the date executed below, I served the
                  10     document(s) via CM/ECF described as DEFENDANT ANAHEIM UNION
                         HIGH SCHOOL DISTRICT, BRAD JACKSON, AND DR. SUSAN
                  11     FERENCZ'S ANSWER TO SECOND AMENDED COMPLAINT on
                         designated recipients through electronic transmission of said documents, a certified
                  12     receipt is issued to filing party acknowledging receipt by CM/ECF's system. Once
                         CM/ECF has served all designated recipients, proof of electronic service is returned
                  13     to the filing party.
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                  14    David J. Duchrow, Esq.                                   Counsel for Plaintiff Veronica Ortega-
                        Jill Piano, Esq.                                         Gamez
                  15    Duchrow & Piano, LLP
                        2510 Main Street, Suite 205
                  16    Santa Monica, CA 90405
                        T: (310) 452-4900; F: (310) 452-4901
                  17    Email: djduchrow@yahoo.com
                        jillatduchrowlaw@gmail.com
                  18
                  19         I declare under penalty of perjury under the laws of the State of California that
                       the above is true and correct. Executed on December 27, 2016, at San Diego, California.
                  20
                  21                                                                    /s/ Paul V. Carelli, IV
                                                                                        Paul V. Carelli, IV
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